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                                                                   February 6,, 2024
 Hon. Frederic Block
 United State District Court, EDNY
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:      Jane Doe v. Mark Waltzer
          21 CV 4332 (FB) (RML)


 Your Honor-


 Please see the attached proposed updates for the following:


                                          JURY INSTRUCTIONS:
       1. III. Damages - Compensatory Damages - PAGE 15, LINE 14 - “Plaintiffs” referenced
          instead of “Plaintiff”.
       2. III. Damages - PAGE 13, LINE 7 - “Defendants” referenced instead of “Defendant”.
          Same on PAGE 16, LINE 6; PAGE 16, LINE 8; PAGE 16, LINE 9.
       3. II. The Claims - PAGE 11, LINE 8 - “So, if you find that Plaintiff has proved, by a
          preponderance of the evidence, that she had sex with Defendant before her seventeenth
          birthday…”. We respectfully request that this be changed to “So, if you find that Plaintiff
          has proved, by a preponderance of the evidence, that the Defendant had sex with her
          before her seventeenth birthday…”
       4. III. Damages - PAGE 13, LINE 15. We respectfully request that it is made clearer to the
          Jury that they can award punitive damages for both emotional distress that Plaintiff
          suffered during the period immediately after the underlying conduct and the emotional
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        distress that she suffers with to this day. The way it is worded currently may suggest to
        the Jury that it can only be awarded for the former.
    5. III. Damages - “You may consider an award of punitive damages based on the conduct of
        each person you have found liable for a constitutional violation.” We don’t believe
        “constitutional violation” is the correct term to encompass the three causes of action.


                                        JURY VERDICT SHEET
        We respectfully ask the Court to incorporate Plaintiff’s Proposed Verdict Sheet filed
 under ECF Document 181 as we believe it more clearly defines to the Jury the causes of action
 of forcible rape and statutory rape.


   RESPONSE TO DEFENDANT’S REQUEST TO IDENTIFY DAMAGES THE JURY
       ASSIGNS TO AN IMPACT ON PLAINTIFF’S HIGH SCHOOL EDUCATION
         Defendant states that he would be entitled for any overlapping damages paid by the
 settlement with the Department of Education. However, there is no cause of action in common
 with the Department of Education as the New York City Human Rights claim against the
 Defendant was withdrawn and therefore there should be no offset in relation to that cause of
 action. In any case, the settlement with the city was not specifically earmarked for damages
 inflicted by Waltzer or any other party (such as Douglas Meiners or the custodian), therefore it
 would be impossible to quantify which part of the damages would be offset for the Defendant.


 Thank you for your consideration.




                                                      Sincerely,

                                                      /s/________________
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